           Case 1:18-cr-00033-RC Document 1 Filed 02/15/18 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                  Holding a Criminal Term

                         Grand Jury Sworn in on November 3, 2016

UNITED STATES OF AMERICA                   :       CRIMINAL NO.
                                           :
              v.                           :       GRAND JURY ORIGINAL
                                           :
RICHARD REID,                              :       VIOLATIONS:
                                           :       18 U.S.C. § 1951
                     Defendant.            :       (Interference with Interstate Commerce
                                           :       by Robbery)
                                           :       18 U.S.C. § 924(c)(1)(A)(ii)
                                           :       (Using, Carrying, Possessing, and
                                           :       Brandishing a Firearm During and in
                                           :       Relation to a Crime of Violence or a Drug
                                           :       Trafficking Offense)
                                           :       18 U.S.C. § 2
                                           :       (Aiding and Abetting Causing an Act to
                                           :       be Done)
                                           :
                                           :       FORFEITURE: 18 U.S.C. § 981(a)(1)(C);
                                           :       28 U.S.C. § 2461(c); and 21 U.S.C. § 853(p)

                                      INDICTMENT

       The Grand Jury charges that:
                                        COUNT ONE

       On or about November 15, 2017, within the District of Columbia, the defendant,

RICHARD REID, did unlawfully obstruct, delay and affect, and attempt to obstruct, delay and

affect, commerce as that term is defined in Title 18, United States Code, Section 1951, and the

movement of articles and commodities in such commerce, by robbery as that term is defined in

Title 18, United States Code, Section 1951, in that the defendant RICHARD REID, did

unlawfully take and obtain property consisting of money, from the presence of Kenneth Gerstley,

an employee of ATM Enterprises, Incorporated, located in Reisterstown, Maryland, against his
            Case 1:18-cr-00033-RC Document 1 Filed 02/15/18 Page 2 of 3




will by means of actual and threatened force, violence, and fear of injury, immediate and future,

to his person, while he was engaged in commercial activities in the area of 301 P Street, NW, in

the District of Columbia, as an employee of ATM Enterprises, Incorporated, a business that was

engaged in and that affects interstate commerce.

       (Interference with Interstate Commerce By Robbery, in violation of Title 18, United
       States Code, Section 1951)

                                           COUNT TWO

       On or about November 15, 2017, within the District of Columbia, RICHARD REID, did

unlawfully and knowingly use, brandish, and carry during and in relation to, and possess in

furtherance of, a crime of violence, for which he may be prosecuted in a court of the United States,

that is, Count One of this Indictment which is incorporated herein, a firearm.

       (Using, Carrying, Possessing, and Brandishing a Firearm During and in Relation to
       a Crime of Violence or a Drug Trafficking Offense and Aiding and Abetting Causing
       an Act to be Done, in violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii)
       and 2)

                                FORFEITURE ALLEGATION

       1.      Upon conviction of the offense alleged in Count One, the defendant shall forfeit to

the United States any property, real or personal, which constitutes or is derived from proceeds

traceable to this offense, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title

28, United States Code, Section 2461(c).

       2.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

       a.      cannot be located upon the exercise of due diligence;

       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the Court;

                                                 2
            Case 1:18-cr-00033-RC Document 1 Filed 02/15/18 Page 3 of 3




       d.      has been substantially diminished in value; or

       e.      has been commingled with other property that cannot be divided without

               difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to 21 U.S.C. § 853(p).

 (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28,
     United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p))

                                              A TRUE BILL:


                                              FOREPERSON.



Attorney of the United States in
and for the District of Columbia.




                                                 3
